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 5
     Attorney for Defendant
 6   JOSE MORALES
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 8
 9
                           IN THE UNITED STATES DISTRICT COURT
10
                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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14   United States of America,           )               Case No. 2:07-CR-0314 KJM
                                          )
15               Plaintiff,              )               REQUEST FOR ORDER &
                                          )              PROPOSED ORDER EXONERATING
16   v.                                  )               BOND
                                          )
17                                        )
     JOSE MORALES,                        )
18                                        )
                 Defendant.               )
19                                        )
     ____________________________________
20
21          In the above referenced case, Morales was ordered released on a $35,000 Secured Bond.
22   The property located at 371 Angus Drive, Gonzales, California, owned by Mr. Manuel Mercado
23   Aguilar, was posted and a deed of trust and promissory note was recorded against this property:
24          The above captioned matter has now been dismissed. It is hereby requested that the
25   Secured bond referenced above be exonerated and that the Clerk of the District Court be
26   directed to reconvey back to the Surities, the Deeds of Trust and Promissory Notes.
27
     Dated: October 11, 2015                             /s/ Dina L. Santos
28                                                       DINA L. SANTOS
                                                         Attorney for Defendant
                                                         JOSE MORALES
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 1
                                                   ORDER
 2
 3   It is hereby ordered that the Secured bond in the amount of $35,000, posted by and secured by a
 4   deed of trust and promissory note from the following property and person:
 5
            Manuel Mercado Aguilar
 6          371 Angus Drive
            Gonzales, CA 93926
 7
 8   is hereby exonerated, and that the Clerk of the District Court is directed as soon as practicable to
 9   reconvey back to the Trustor the Deeds of Trust and Promissory Notes.
10   Dated: October 14, 2015
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                                                        UNITED STATES DISTRICT JUDGE
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